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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 NIPPON SEAL (SHENZHEN) CO., LTD.

           Plaintiff,

 v.                                                     Case No. 24 C 11211

 THE PARTNERSHIPS AND                                   Judge Sunil R. Harjani
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED IN SCHEDULE “A”,

           Defendants.

                                               ORDER

         The Court has reviewed the plaintiff's memorandum on joinder [11] and determines, within
its discretion, that plaintiff has failed to satisfy its burden to show that joinder of three defendants
is proper in this utility patent infringement case. 35 U.S.C. § 299 governs joinder in patent cases.
That statute provides, in relevant part: “[P]arties that are accused [patent] infringers may be joined
in one action as defendants or counterclaim defendants, or have their actions consolidated for trial,
only if—(1) any right to relief is asserted against the parties jointly, severally, or in the alternative
with respect to or arising out of the same transaction, occurrence, or series of transactions or
occurrences relating to the making, using, importing into the United States, offering for sale, or
selling of the same accused product or process; and (2) questions of fact common to all defendants
or counterclaim defendants will arise in the action.” 35 U.S.C. § 299(a). Joinder is improper where
“accused infringers” are joined “based solely on allegations that they each have infringed the patent
or patents in suit.” Id. at § 299(b). Claims against different defendants arise out of the same
transaction or occurrence or series of transactions or occurrences when “there is a ‘logical
relationship’ between them.” Tang v. P’ships & Unincorporated Ass’ns Identified on Schedule A,
2024 WL 68332, at *1 (N.D. Ill. Jan. 4, 2024) (quoting In re EMC Corp., 677 F.3d 1351, 1358
(Fed. Cir. 2012)). “Such a relationship requires shared, overlapping facts that give rise to each
cause of action, and not just distinct, albeit coincidentally identical, facts.” Id.

        Plaintiff has not demonstrated that its claims against defendants may be properly joined in
the same case in accordance with Section 299’s same transaction-or-occurrence test. According
to plaintiff’s allegations, defendants are an “interrelated group of infringers working in active
concert” to sell the same product that infringes its patent in a series of occurrences. Cmplt. ¶ 10.
But plaintiff’s conclusory statement that is not accompanied by “specific facts, or other well-
pleaded allegations” does not support joinder. Viking Arm AS v. P’ships and Unincorporated
Ass’ns Identified on Schedule A, 2024 WL 2953105, at *3 (N.D. Ill. June 6, 2024); Tang, 2024
WL 68332 at *2. Further, that defendants’ internet stores use “common features, including the
same product images, accepted payment methods, checkout methods, meta data, illegitimate SEO
tactics, lack of contact information, identically or similarly priced items and volume sales
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discounts, similar hosting services, and the use of the same text and images, including content
copied from Plaintiff’s original product listings” does not necessarily establish a logical
relationship between them. Cmplt. ¶ 13; see Tang, 2024 WL 68332, at *2 (“even if [defendants’]
webpages were identical, it would not necessarily suggest the defendants are connected.”); Art Ask
Agency v. Individuals, Corps., Ltd. Liab. Cos, P’ships, & Unincorporated Ass’ns Identified on
Schedule “A”, 2021 WL 5493226, at *2 (N.D. Ill. Nov. 23, 2021) (rejecting argument that
defendants were interrelated because they shared common features “including use of the same
domain name registration patterns, unique shopping cart platforms, similar payment and check-
out methods, meta data, illegitimate SEO tactics, HTML user-defined variables, domain
redirection, lack of contact information, identically or similarly priced items and volume sales
discounts, similar hosting services, similar name servers, and the use of the same text and
images.”); Estee Lauder Cosms. Ltd., et al. v. The P’ships, et al., No. 20-cv-00845 (N.D. Ill. June
22, 2020) (Lee, J.) (Doc. 40 at 9) ("defendants with nearly identical product descriptions may in
fact share no ties, with each simply copying the same description from elsewhere."). In addition
to operating under fictitious names, plaintiff points out that defendants use a variety of other
common tactics to evade enforcement efforts. Cmplt. ¶ 14. But these are “all coincidentally
identical facts that reflect the way these internet webstores tend to operate, not that all defendants
are part of a network of infringers.” Viking, 2024 WL 2953105, at *3 (internal quotes and citation
omitted); Art Ask Agency, 2021 WL 5493226, at *2.

        At bottom, plaintiff claims that joinder is proper because all of “the defendants sell the
same, knock-off product on the same online platform (TEMU).” Doc. 11 at 4. However, “a claim
that the defendants infringed on [the plaintiff’s] [] patent in the same way . . . is not sufficient to
link one defendant’s infringement to another as part of the ‘same transaction, occurrence, or series
of transactions or occurrences’” under § 299. Tang, 2024 WL 68332, at *2; Roadget Business Pte.
Ltd v. Individuals, Corps., LLCs, P’ships, & Unincorporated Ass’ns Identified on Schedule A
Hereto, 2024 WL 1858592, at *7 (N.D. Ill. Apr. 29, 2024) (rejecting plaintiff’s argument that
joinder was proper where “[d]efendants all relied on Temu as the platform to sell its products.”);
Estée Lauder Cosmetics, Ltd. v. P’ships and Unincorporated Ass’ns Identified on Schedule A, 334
F.R.D. 182 187 (N.D. Ill. 2020) (“Committing the same type of violation in the same way does not
link defendants together for the purpose of joinder.”) (cleaned up) (quoting AF Holdings, LLC v.
Does 1-1508, 752 F.3d 990, 998 (D.C. Cir. 2014)).

        Finally, plaintiff argues that defendants are properly joined under § 299 because defendants
“all sell the visually same, knock-off product support[ing] the occurrence of ‘mass harm’ (or
swarming) from the Defendants.” Doc. 11 at 6. In support, plaintiff relies on Bose Corp. v. P’ships
& Unincorporated Ass’ns Identified on Schedule “A”, 334 F.R.D. 511, 514 (N.D. Ill. 2020), where
the district court found joinder of a “swarm” of counterfeiters was proper. But unlike in Bose,
“[t]his case does not involve a ‘swarm’ of counterfeiters passing off their products as those of a
single plaintiff that owns a valuable trademark.” Tang, 2024 WL 68332, at *3. Rather, this case
involves three “sellers of the exact same type of product allegedly infringing on one seller's []
patent.” Id. (distinguishing Bose where the “essence of the dispute” was “not infringement en
masse but rather instances of infringement by distinct competitors.”); see also Roadget Pte. Ltd v.
Individuals, Corps., LLCs, P’ships, & Unincorporated Ass’ns Identified on Schedule A Hereto,
2024 WL 2763735, at *3 (N.D. Ill. May 20, 2024) (“Plaintiff calls this case one of ‘mass
infringement’ concerning the same platform (Temu) and the same harm (copyright infringement)

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inflicted upon the same entity (plaintiff). But these connections suggest nothing more than
separate instances of infringement attributable to different defendants, not events arising out of the
same transaction or occurrence.”).

       For these reasons, joinder of three defendants in this case is improper under § 299.
Accordingly, the Court dismisses Defendant Nos. 2 and 3 without prejudice. See Tang, 2024 WL
68332, at *3 (dismissing without prejudice the improperly joined defendants). Plaintiff's motion
for temporary restraining order [8] is denied without prejudice. Plaintiff may refile its motion
consistent with this Order. Plaintiff's motion to file under seal [6] is granted.

SO ORDERED.


Dated: December 17, 2024                              ______________________________
                                                      Sunil R. Harjani
                                                      United States District Judge




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